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oN NY FW NF DO AnH DWN Bw PO KY So

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DEPARTMENT and EVAN URIAS

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

THE ESTATE OF KENNEY Case No.: CV17-00485JFW(FFMx)
WATKINS, PRESCIOUS SASSER, Hon. District Judge: John F. Walter
individually, as successor in interest to

KENNY WATKINS Honorable Mag.: Frederick F. Mumm
Plaintiffs
vs. ANSWER OF DEFENDANTS CITY
CITY OF LOS ANGELES, LOS OF LOS ANGELES, LOS ANGELES
ANGELES POLICE DEPARTMENT,| POLICE DEPARTMENT AND
EVAN URIAS, and DOES 1 EVAN URIAS TO PLAINTIFFS?
THROUGH 25, INCLUSIVE, FIRST AMENDED COMPLAINT

Defendants. AND DEMAND FOR JURY TRIAL

 

 

COME NOW, DEFENDANTS, CITY OF LOS ANGELES, LOS ANGELES
POLICE DEPARTMENT and EVAN URIAS, answering PLAINTIFFS’ FIRST
AMENDED OMPLAINT for themselves and for no other parties, admit, deny and

allege as follows:

i. Answering paragraph 1, defendants deny the allegations contained
therein.
2. Answering paragraph 2, defendants admit the allegations contained

therein.

 
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oO NNDN MN FW NY FF DO wen DwN BWP KC

 

 

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3. Answering paragraph 3, defendants admit the allegations contained
therein.

4. Answering paragraph 4, defendants admit the allegations contained
therein.

5. Answering paragraph 5, the cause of action is not alleged against the

answering defendants, and on that basis the paragraph goes unanswered.

6. Answering paragraph 6, defendants lack sufficient information and belief
upon which to answer the allegations contained therein, and on that basis deny the
allegations.

7. Answering paragraph 7, defendants lack sufficient information and belief

upon which to answer the allegations contained therein, and on that basis deny the

allegations.

8. Answering paragraph 8, defendants deny the allegations contained
therein.

9. Answering paragraph 9, defendants lack sufficient information and belief

upon which to answer the allegations contained therein, and on that basis deny the

allegations.

10. Answering paragraph 10, defendants deny the allegations contained

therein.

11. Answering paragraph 11, defendants deny the allegations contained

therein.

12. Answering paragraph 12, defendants deny the allegations contained

therein.

13. Answering paragraph 13, defendants deny the allegations contained

therein.

14. Answering paragraph 14, defendants deny the allegations contained

therein.

 
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oN ND ON FPF WN KF DO MMH DMN BR WHO KH SO

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15. Answering paragraph 15, defendants deny the allegations contained
therein.

16. Answering paragraph 16, which incorporates by reference the allegations
of other paragraphs of the pleading, defendants to the same extent incorporates by
reference the answers provided herein to those paragraphs.

17. Answering paragraph 17, defendants lack sufficient information and
belief upon which to answer the allegations contained therein, and on that basis deny
the allegations.

18. Answering paragraph 18, defendants lack sufficient information and
belief upon which to answer the allegations contained therein, and on that basis deny
the allegations.

19. Answering paragraph 19, defendants deny the allegations contained
therein.

20. Answering paragraph 20, defendants deny the allegations contained
therein.

21. Answering paragraph 21, defendants deny the allegations contained
therein.

22. Answering paragraph 22, defendants deny the allegations contained
therein.

23. Answering paragraph 23, defendants deny the allegations contained
therein.

24. Answering paragraph 24, defendants deny the allegations contained
therein.

25. Answering paragraph 25, defendants deny the allegations contained
therein.

26. Answering paragraph 26, defendants deny the allegations contained

therein.

 

 

 
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oN DMN FWY = DO AAI DWN Bw PO KS

 

 

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27. Answering paragraph 27, which incorporates by reference the allegations
of other paragraphs of the pleading, defendants to the same extent incorporates by
reference the answers provided herein to those paragraphs.

28. Answering paragraph 28, defendants deny the allegations contained
therein.

29. Answering paragraph 29, defendants deny the allegations contained
therein.

30. | Answering paragraph 30, defendants deny the allegations contained
therein.

31. Answering paragraph 31, defendants deny the allegations contained
therein.

32. Answering paragraph 32, defendants deny the allegations contained
therein.

33. Answering paragraph 33, defendants deny the allegations contained
therein.

34. Answering paragraph 34, which incorporates by reference the allegations
of other paragraphs of the pleading, defendants to the same extent incorporates by
reference the answers provided herein to those paragraphs.

35. Answering paragraph 35, defendants deny the allegations contained
therein.

36. Answering paragraph 36, defendants deny the allegations contained
therein.

37. Answering paragraph 37, defendants deny the allegations contained
therein.

38. Answering paragraph 38, defendants deny the allegations contained

therein.

 
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oN DWN FW NF CTO OH DWN BR Ww HH O-O

 

 

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39,

therein.

40.

therein.

4].

therein.

42.

therein.

43.

therein.

44,

therein.

45.

Answering paragraph 39, defendants deny the allegations contained

Answering paragraph 40, defendants deny the allegations contained

Answering paragraph 41, defendants deny the allegations contained

Answering paragraph 42, defendants deny the allegations contained

Answering paragraph 43, defendants deny the allegations contained

Answering paragraph 44, defendants deny the allegations contained

Answering paragraph 45, which incorporates by reference the allegations

of other paragraphs of the pleading, defendants to the same extent incorporates by

reference the answers provided herein to those paragraphs.

46.

therein.

47.

therein.

48.

therein.

49,

therein.

50.

therein.

Answering paragraph 46, defendants deny the allegations contained

Answering paragraph 47, defendants deny the allegations contained

Answering paragraph 48, defendants deny the allegations contained

Answering paragraph 49, defendants deny the allegations contained

Answering paragraph 50, defendants deny the allegations contained

 
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oN DMN FPF WN FH DO WMA DWH Bw PH HS

 

 

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51.

Answering paragraph 51, which incorporates by reference the allegations

of other paragraphs of the pleading, defendants to the same extent incorporates by

reference the answers provided herein to those paragraphs.

52.

therein.

53.

therein.

54.

therein.

55.

therein.

56.

therein.

57.

therein.

58.

therein.

59,

Answering paragraph 52, defendants deny the allegations contained

Answering paragraph 53, defendants deny the allegations contained

Answering paragraph 54, defendants deny the allegations contained

Answering paragraph 55, defendants deny the allegations contained

Answering paragraph 56, defendants deny the allegations contained

Answering paragraph 57, defendants deny the allegations contained

Answering paragraph 58, defendants deny the allegations contained

Answering paragraph 59, which incorporates by reference the allegations

of other paragraphs of the pleading, defendants to the same extent incorporates by

reference the answers provided herein to those paragraphs.

60.

therein.

61.

therein.

62.

therein.

Answering paragraph 60, defendants deny the allegations contained

Answering paragraph 61, defendants deny the allegations contained

Answering paragraph 62, defendants deny the allegations contained

 
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63.

therein.

64.

therein.

65.

therein.

66.

therein.

67.

therein.

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therein.

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therein.

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therein.

71.

therein.

72.

therein.

73.

therein.

74.

Answering paragraph 63, defendants deny the allegations contained

Answering paragraph 64, defendants deny the allegations contained

Answering paragraph 65, defendants deny the allegations contained

Answering paragraph 66, defendants deny the allegations contained

Answering paragraph 67, defendants deny the allegations contained

Answering paragraph 68, defendants deny the allegations contained

Answering paragraph 69, defendants deny the allegations contained

Answering paragraph 70, defendants deny the allegations contained

Answering paragraph 71, defendants deny the allegations contained

Answering paragraph 72, defendants deny the allegations contained

Answering paragraph 73, defendants deny the allegations contained

Answering paragraph 74, which incorporates by reference the allegations

of other paragraphs of the pleading, defendants to the same extent incorporates by

reference the answers provided herein to those paragraphs.

75.

therein.

Answering paragraph 75, defendants deny the allegations contained

 
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ont D MN FF WwW N FH DO MA DWN Bw POH So

 

 

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76. Answering paragraph 76, defendants deny the allegations contained
therein.

77. Answering paragraph 77, defendants deny the allegations contained
therein.

78. Answering paragraph 78, defendants deny the allegations contained

 

therein.
AFFIRMATIVE DEFENSES
As separate and distinct affirmative defenses, defendants allege each of the
following:
1. The damages alleged were directly and proximately caused and

contributed to by the negligence of decedent, and the extent of damages sustained, if
any, should be reduced in proportion to the amount of said negligence.

2. The damages alleged were directly and proximately caused and
contributed to by the negligence of other persons, and the extent of damages sustained,
if any, should be reduced in proportion to the amount of said negligence.

3, The force used against decedent, if any, was caused and necessitated by
the actions of decedent, and was reasonable and necessary for self-defense.

4. The force used against decedent, if any, was caused and necessitated by

the actions of decedent, and was reasonable and necessary for the defense of others.

5. The claims are barred by the statute of limitations set forth in California
Code of Civil Procedure § 340(3) and Government Code §945.6.
6. The state claims are barred for plaintiff's failure to comply with the

provisions of the California Tort Claims Act, Government Code § 910 et seq.

7. The action should be abated in that all of the heirs of decedent have not
been joined as parties.

8. The action is barred for lack of standing to sue.

9. The action is barred by the doctrine of res judicata.

 
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oN ND YM BFW NH KH DoOC we DWN Bw PH BS

 

 

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10. As to the federal claims and theories of recovery, the answering individual
defendants are protected from liability under the doctrine of qualified immunity,
because these defendants’ conduct did not violate clearly established statutory or
constitutional rights of which a reasonable person would have known.

11. Defendant City of Los Angeles and all defendants sued in their official
capacities are immune from the imposition of punitive damages.

12. Defendants are immune from liability pursuant to the provisions of each
of the following California statutes, each of which is set forth as a separate and distinct
affirmative defense:

Government Code §§ 815.2; 818; 818.2; 818.8; 820.2; 820.4; 820.8; 820.9;
822.2 and 845.

Cal. Penal Code § 192

Health and Safety Code § 1799.106

WHEREFORE, defendants pray for judgment as follows:

1. That plaintiff takes nothing by this action;

2. That the action be dismissed;

3. That defendants be awarded costs of suit;

4. That defendants be awarded other and further relief as the Court

may deem just and proper.

DEMAND FOR JURY TRIAL
Defendants hereby demand and request a trial by jury in this matter.
WHEREFORE, defendants pray for judgment as follows:
l. That plaintiff takes nothing by this action;
2. That the action be dismissed;

3. That defendants be awarded costs of suit;

 
 

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I 4. That defendants be awarded other and further relief as the Court
2 {| may deem just and proper, including an award of attorney's fees pursuant to 42 U.S.C.
3 I § 1988.

4 || Dated: April 4, 2017

MICHAEL N. FEUER, City Attorney .

THOMAS H. PETERS, Chief Assistant City Attorney

7 CORY M. B Assistant City Attorney

; by. ] a

9 GEOFFREY PLOWDEN, Deputy City Attorney
ue Attorney for Defendants CITY OF LOS ANGELES, LOS
1 ANGELES POLICE DEPARTMENT and EVAN URIAS
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